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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                                                                            FILED
                            BUTTE DIVISION                                   DEC 0 2 2016
                                                                          Cli~ y.s District Court
                                                                             ' net Of Montana
 UNITED STATES OF AMERICA,                           CR 16-17-BU-DLC            Missoula


                     Plaintiff,
                                                           ORDER
        vs.

 LINDSEY KRYSTELLE HUDSON,

                     Defendant.



      The Government has moved to revoke the Defendant's pretrial release. I

find there is probable cause to believe the Defendant has violated conditions of

supervision, supported by the affidavit of the U.S. Pretrial Services Officer given

under penalty of perjury. Therefore,

      IT IS HEREBY ORDERED that an arrest warrant be issued.

              DATED this 2nd day of Decemb~

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                                             Jeremiah C. Lynch ~
                                             United States Magistrate Judge
